    Case 2:12-cr-00087-WKW-CSC Document 960 Filed 10/14/21 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

 UNITED STATES OF AMERICA                  )
                                           )
       v.                                  ) CASE NO. 2:12-CR-87-WKW
                                           )          [WO]
 DELMOND LEMAR BLEDSON                     )

                                      ORDER

      Before the court is Defendant Delmond Lemar Bledson’s pro se “motion

requesting a judicial recommendation concerning length of residential reentry center

placement.” (Doc. # 931.) Defendant requests a non-binding recommendation from

the court that he serve a full twelve months of his sentence in a residential reentry

center prior to his release. The Government filed a response, stating that it “does not

oppose Bledson’s request for a judicial recommendation.” (Doc. # 936.) Based

upon careful consideration, the motion is due to be denied.

      Congress has assigned the Bureau of Prisons (“BOP”) the responsibility of

“ensur[ing] that a prisoner serving a term of imprisonment spends a portion of the

final months of that term (not to exceed 12 months), under conditions that will afford

that prisoner a reasonable opportunity to adjust to and prepare for the reentry of that

prisoner into the community.” 18 U.S.C. § 3624(c)(1). The BOP considers a

number of factors when designating an inmate’s place of imprisonment, such as:

      (1) the resources of the facility contemplated;
      (2) the nature and circumstances of the offense;
    Case 2:12-cr-00087-WKW-CSC Document 960 Filed 10/14/21 Page 2 of 3




      (3) the history and characteristics of the prisoner;
      (4) any statement by the court that imposed the sentence—
             (A) concerning the purposes for which the sentence to
             imprisonment was determined to be warranted; or
             (B) recommending a type of penal or correctional facility as
             appropriate; and
      (5) any pertinent policy statement issued by the Sentencing
      Commission pursuant to section 994(a)(2) of title 28.

18 U.S.C. § 3621(b). While a court can make a recommendation to the BOP, it

remains “Congress’ intent to allow the BOP to rely on its own judgment in

classifying prisoners and placing them in institutions.” Cohen v. United States, 151

F.3d 1338, 1343 (11th Cir. 1998). And “[a]ny order, recommendation, or request by

a sentencing court that a convicted person serve a term of imprisonment in a

community corrections facility shall have no binding effect on the authority of the

Bureau . . . to determine or change the place of imprisonment of that person.” 18

U.S.C. § 3621(b).

      Courts do occasionally make the kind of post-sentencing recommendation

Defendant seeks. See United States v. Perry, 2:13-cr-49-TLN, 2017 WL 1534275,

at *2 (E.D. Cal. Apr. 28, 2017) (collecting cases). But those instances are rare, and

they present extraordinary circumstances. For instance, in one case from this

district, the inmate used his time in prison “to learn technical skills, address his

substance abuse, repair his relationship with his family, and improve the very

facilities he served in.” United States v. Baker, No. 3:01-cr-94-01-MHT, 2013 WL

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    Case 2:12-cr-00087-WKW-CSC Document 960 Filed 10/14/21 Page 3 of 3




355867, at *2 (M.D. Ala. Jan. 29, 2013). As one BOP supervisor wrote to the court,

the inmate became “uniquely talented and skilled in almost every discipline and

trade ever needed by” the prison and saved the BOP “thousands of dollars” through

his repair work. Id. at *1. He trained other inmates to perform “every job description

at th[e] facility” and then also mentored other inmates through teaching them

“personal wellness plan[s], helping them plan their future, teaching them to read,

teaching a class for the Education Department, or helping them write a letter.” Id.

at *1–2.

      Far more frequent is the recognition by district courts that the BOP is in a

better position to assess the inmate’s history, the needs of the institution, the

knowledge of how other inmates are treated, and the availability of suitable facilities.

Perry, 2017 WL 1534275, at *2. That is the case here. Although Defendant is to be

commended for taking advantage of educational and training opportunities available

in prison and for anticipating ways to succeed once he is released, the BOP remains

in the best position to evaluate Defendant’s placement.

      Accordingly, it is ORDERED that Defendant’s pro se motion (Doc. # 931) is

DENIED.

      DONE this 14th day of October, 2021.

                                               /s/ W. Keith Watkins
                                        UNITED STATES DISTRICT JUDGE

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